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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

PROLITEC INC.,
                                         C.A. No. 20-984-WCB
            Plaintiff,

v.

SCENTAIR TECHNOLOGIES, LLC.,

            Defendant.




                  PLAINTIFF’S MOTION IN LIMINE NO. 1
         TO EXCLUDE EVIDENCE AND ARGUMENTS RELATING TO
     INTER PARTES REVIEW PROCEEDINGS OF THE ASSERTED PATENTS




Dated: January 8, 2024.

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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

PROLITEC INC.,
                                       C.A. No. 20-984-WCB
            Plaintiff,

v.

SCENTAIR TECHNOLOGIES, LLC.,

            Defendant.



                  PLAINTIFF’S MOTION IN LIMINE NO. 1
         TO EXCLUDE EVIDENCE AND ARGUMENTS RELATING TO
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        Prolitec moves in limine to preclude evidence and arguments relating to the inter partes

review (“IPR”) proceedings pursued by ScentAir against the Asserted Patents, and specifically

that certain claims were invalidated by the Patent Trial and Appeal Board (“PTAB”) during IPR

proceedings. See ScentAir Techs., LLC v. Prolitec, Inc., IPR2021-00012 and IPR2021-00014.

        “[E]vidence of previously asserted claims that are no longer in the case is not relevant

to . . . the separate claims that are still in the case.” Digital Reg. of Tex., LLC v. Adobe Sys.,

No. C 12–1971 CW, 2014 WL 4090550, *13 (N.D. Cal. Aug. 19, 2014). Evidence of non-asserted

claims that have been invalidated is especially prejudicial because of potential spill-over effects

on the validity of the asserted claims. SPEX Techs. v. Apricorn, Inc., CV 16-07349JVS(AGRx),

2020 WL 1289546, at *1 (C.D. Cal. Jan. 21, 2020). In SPEX Technologies, the alleged infringer

wanted to introduce evidence of invalidated claims of the asserted patent for the purposes of

damages apportionment. Def.’s Opp’n to Pl.’s Mot. in Lim. No. 1, ECF No. 185 at 3-4, SPEX

Techs. v. Apricorn, Inc., CV 16-07349JVS(AGRx) (C.D. Cal. Dec. 23, 2019). The court found that

even if the invalidated claims themselves were relevant to challenging the patentee’s expert’s

damages calculations, it would not “require telling the jury that the PTAB invalidated the claims.”

SPEX Techs., 2020 WL 1289546, at *1. Accordingly, referring to the PTAB invalidation of those

claims was irrelevant and unduly prejudicial because of the jury’s potential conclusion that “the

invalidation of certain claims . . . reflects on the merits of remaining claims and theories.” Id.; Pl.’s

Mot. in Lim. No. 1, ECF No. 165 at 3, SPEX Techs. v. Apricorn, Inc., CV 16-07349JVS(AGRx)

(C.D. Cal. Dec. 3, 2019).

        Here, similar to in SPEX Technologies, it is wholly unnecessary for ScentAir refer to the

invalidation of non-asserted claims, such as independent claims 9 of the Asserted Patents. Doing

so is irrelevant when simply distinguishing between the asserted and non-asserted claims for the




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purposes of apportionment would suffice. Moreover, it would be unfairly prejudicial because the

jury may inaccurately conclude that the asserted dependent claims are more likely invalid since

the independent claims were found to be invalid, even though those same IPRs that invalidated the

independent claims did not find the asserted claims invalid.

       Additionally, exclusion of this evidence is proper where the issues raised in the IPRs are

not present before the court and are, therefore, irrelevant. See, e.g., Vaporstream, Inc. v. Snap Inc.,

No. 2:17-cv-00220-MLH (KSx), 2020 WL 978731, at *7–8 (C.D. Cal. Feb. 28, 2020) (excluding

evidence of IPR directed at obviousness where obviousness defense was obviated on summary

judgment); Olaf Soot Design, LLC v. Daktronics, Inc., No. 15 Civ. 5024 (RWS), 2018 WL

6424551, at *4 (S.D.N.Y. Dec. 6, 2018) (excluding evidence of IPR directed toward patent validity

where validity defense had been withdrawn), overruled in part on other grounds by 2018 WL

6929176 (S.D.N.Y. Dec. 7, 2018). Vaporstream is instructive here: The defendant failed to show

during IPRs that several claims in the patents-in-suit were unpatentable as obvious. 2020 WL

978731, at *7. Prior to trial, the defendant sought to exclude evidence of those IPRs, arguing that

the adverse decisions were irrelevant given that obviousness would not be an issue at trial. Id. The

court agreed and found that, even though patent eligibility under 35 U.S.C. § 101 remained at

issue, the PTAB’s obviousness decisions had no bearing on eligibility. Id. Furthermore, the court

determined that allowing arguments or evidence relating to the IPR proceedings “would likely

require an explanation of the nature of IPR proceedings and the PTAB’s role, . . . and the PTAB’s

various findings in the multiple IPR proceedings,” which “would likely consume a significant

amount of time and potentially lead to jury confusion over the invalidity issues in the case.” Id. at

*8.




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       As with the defendant’s IPRs in Vaporstream, ScentAir’s IPRs challenged the claims of

the Asserted Patents solely on obviousness grounds. See generally J.A. to Joint Claim Construction

Br., D.I. 108-1 & 108-5. Obviousness is no longer at issue in this case. See ScentAir’s Answering

Br. in Opp’n to Prolitec’s Mot. for Partial Summ. J., D.I. 224 at 18 (abandoning obviousness

defense). Thus, as the Vaporstream court explained, evidence regarding the IPR proceedings

would require the Court to waste valuable time explaining the PTAB’s role in the proceedings, the

nature of IPR proceedings in general, and the substance of the PTAB’s decisions in an effort to

avoid jury confusion on invalidity issues.

       Furthermore, the potential of the jury construing the PTAB’s decisions as a binding ruling

of noninfringement would be extremely prejudicial to Prolitec’s case, given that invalidity need

only be proven by a preponderance of the evidence in IPR proceedings, compared to clear and

convincing evidence in federal court cases. Compare 35 U.S.C. § 316(e) (burden of proof on IPR

invalidity claims) with Microsoft Corp. v. i4i L.P., 564 U.S. 91, 95 (2011) (burden of proof on

federal invalidity defenses); see also Integra LifeSciences Corp. v. HyperBranch Med. Tech., Inc.,

No. No. 15–819–LPS–CJB, 2018 WL 218667, at *1 (D. Del. May 11, 2018) (excluding “all

evidence relating to the PTAB and the IPR” because “the prejudice and confusion inherent in

presenting this evidence to the jury–particularly given the PTAB’s different standards–

substantially outweighs its probative value”). Thus, to avoid presenting irrelevant evidence to the

jury, confusing the jury, and prejudicing Prolitec, the Court should preclude any evidence or

arguments relating to the IPRs of the Asserted Patents, and especially of the PTAB invalidation of

independent claims 9 of the Asserted Patents.




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Dated: December 19, 2023                      MCCARTER & ENGLISH, LLP

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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      FOR THE DISTRICT OF DELAWARE

PROLITEC INC.,

       Plaintiff, Counter-Defendant          C.A. No. 20-984-WCB

v.

SCENTAIR TECHNOLOGIES, LLC,

       Defendant, Counter-Plaintiff



     SCENTAIR’S OPPOSITION TO PROLITEC’S MOTION IN LIMINE NO. 1
         TO EXCLUDE EVIDENCE AND ARGUMENTS RELATING TO
     INTER PARTES REVIEW PROCEEDINGS OF THE ASSERTED PATENTS

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December 29, 2023
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       ScentAir must be permitted to raise the relevant, indisputable facts that the independent

claims have been held invalid, have been cancelled, and are in the public domain, and therefore

that Prolitec cannot claim damages for their features. D.I. 240 at 30. Prolitec wants to hide these

facts from the jury, and is even resisting letting the jury see the current, official versions of the

patents that include the IPR Certificates. ScentAir has informed Prolitec that it does not intend to

tell the jury about the IPRs, the invalidating prior art, the PTAB’s standards of proof, or Prolitec’s

failure to appeal. But as the IPR certificate is part of the official government record of each patent

to be admitted into evidence by ScentAir plainly indicates, claim 9 of each asserted patent is now

“cancelled.”1 The jury will see this, and in any case, ScentAir would be prejudiced if it could not

reference the claims’ legal status, particularly in the context of the apportionment of damages.

       While Dr. Hultmark and Dr. Vigil’s reasonable royalty analyses were stricken for failure

to properly apportion the value of the asserted claims to the incremental improvements of the

asserted claims (D.I. 240 at 29-30), and while the Court’s Daubert rulings preclude Prolitec from

seeking damages based on the benefits of “scent diffusion” generally (e.g., id. at 38), Dr. Vigil has

no opinion further apportioning damages down from the overbroad “scent diffusion” category. In

rebuttal, ScentAir must establish that no value can be attributed to the claim 9 benefits, because

they are invalid and Prolitec has no rights in them. These are facts of consequence. FRE 401.

       In a similar situation, the court in G.W. Lisk Co. v. Power Packer N.A., Inc. allowed the

jury to learn of the cancellation of independent claims as relevant to apportionment. No. 4:17-cv-

273-SMR-SBJ, 2023 WL 3680079, at *1-2 (S.D. Iowa Apr. 13, 2023) (“court-supervised

instruction of the cancellation of [independent] claims by the [ ] PTAB is appropriate”). The G.W.



1
  Prolitec elected not to appeal the PTAB’s April 22, 2022 final written decisions in IPR2021-
00012 (the ’004 patent) and IPR2021-00014 (the ’976 patent), and accordingly, cancellation of
claim 9 of the asserted patents is final. 35 U.S.C. §318(b).
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Lisk court held, “the cancellation of claims is relevant [to liability and damages,] but may not be

used to suggest [the] remaining claims are invalid,” and required a jury instruction on the burden

of proof. Id. This is exactly what ScentAir suggests here in its proposed final jury instruction:

       Independent Claim 9 of the ‘004 patent and Claim 9 of the ‘976 patent are not
       asserted in this case, and they have been previously decided to be invalid and, as a
       result, have been cancelled. As I instructed you earlier, a dependent claim recites
       all the requirements of its independent claim and adds additional requirements. This
       means the scope of the dependent claim should be narrower than the scope of the
       independent claim from which it depends. The finding that the broader independent
       claim is invalid does not mean the narrower dependent claims are also invalid.
       Rather, you must consider the validity of each claim separately, on a claim-by-
       claim basis, according to the instructions I am about to give you.

Thus, ScentAir’s reference to the invalidity and cancellation of claims 9 will not lead the jury to

“conclude that the asserted dependent claims are more likely invalid,” as Prolitec argues (at p.2).

       Prolitec does not dispute that the jury must be informed that any damages must be properly

apportioned, and it argues that “distinguishing between the asserted and non-asserted claims for

the purposes of apportionment would suffice” (pp. 1-2). But the issue is more fundamental than

“asserted” or “non-asserted.” Prolitec has only attempted to base its damages theory on a

quantification of “scent diffusion” functionality, without further value apportionment. Instructing

the jury that the dependent claims are “asserted” and claim 9s are “unasserted” does not inform

the jury that no value can be attributed to the features of the independent claims, mitigate

speculation as to why that is, or address confusion as to why the patents list the claims as

“cancelled.” And if the claims could not be truthfully characterized as “cancelled” or invalid, jurors

might incorrectly assume that the “unasserted” claims are valid and that the value of their features

are recoverable—right in line with the damages opinions the Court properly excluded under

Daubert. Accurately referring to the legal status of the independent claims is the only way to ensure

that the jury understands that no damages can be attributed to the features and benefits provided

by the invalid, cancelled claims 9. To wit, ScentAir proposes informing the jury that:
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       [i]n this case, because all of the asserted claims are dependent claims, and because
       the independent claims from which they depend have been previously determined
       to be invalid, an award of damages must be based only on the value contributed by
       the novel features set forth in the asserted dependent claims, as opposed to features
       of the independent claims that have been invalidated.

       This is far from the “usual” case where admitting a non-final or non-merits PTAB decision

risks confusion of the issues in view of different claim constructions or standards of proof.

Vaporstream, Inc. v. Snap Inc. is particularly inapposite, since in that case, the plaintiff sought to

introduce evidence that defendant failed to convince the PTAB that the patents-in-suit were

obvious, when obviousness was not an issue for trial. 2020 WL 978731, *1, 7-8 (C.D. Cal. Feb.

28, 2020). There, the risk of prejudice and jury confusion about differing standards of proof clearly

outweighed the non-existent relevance of an issue not before the jury.2 Here, the status of the

claims 9 is highly relevant to apportionment. To the extent there is any prejudice to Prolitec, it can

be substantially overcome by ScentAir’s well-balanced proposed final jury instructions, or other

carefully crafted instructions.3 G.W. Lisk Co., 2023 WL 3680079, at *1-2.



2
  Your Honor cited Vaporstream in Ioengine, LLC v. PayPal Holdings, Inc., 2022 WL 2800911,
at *1 (D. Del. June 27, 2022) and declined defendants’ request to introduce the “outcomes of, as
well as evidence, testimony, and argument from, IPRs challenging the Asserted Patents and the
related U.S. Patent No. 8,539,047” to establish that the validity of the dependent claims was
contingent upon their added limitations. See C.A. No. 18-826, D.I. 426 at 1 (emphasis added).
Respectfully, Ioengine is distinguishable because the request there was much broader and more
potentially prejudicial, given the lower standard of proof. The IPR decision was not final at the
time of the Court’s decision. Further, unlike here, the defendant failed to show that the IPR
evidence was critical to the jury’s understanding of any particular issue.
3
  Indeed, appropriate jury instructions mitigate the risks of jury confusion in admitting even non-
merits PTAB decisions. See Chamberlain Grp., Inc. v. Techtronic Indus. Co., 935 F.3d 1341,
1351-52 (Fed. Cir. 2019) (under Supreme Court authority, the district court did not abuse its
discretion in admitting PTAB evidence with limiting instructions); accord Universal Elecs., Inc.
v. Universal Remote Control, Inc., No. SACV 12-00329 AG, 2014 WL 8096334, at *7 (C.D. Cal.
Apr. 21, 2014) (denying motion to exclude evidence of PTO’s rejection of IPR petition, as “[a]ny
potential confusion can be addressed by appropriate jury instructions” on the standards); Dexcowin
Glob., Inc. v. Aribex, Inc., 2017 WL 3478492, at *3 (C.D. Cal. June 29, 2017) (same); StoneEagle
Servs., Inc. v. Pay-Plus Sols., Inc., No. 13-2240, 2015 WL 3824208, at *9 (M.D. Fla. June 19,
2015) (same).
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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 PROLITEC INC.,
                                        C.A. No. 20-984-WCB
            Plaintiff,

 v.

 SCENTAIR TECHNOLOGIES, LLC.,

            Defendant.



         PROLITEC’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 1
          TO EXCLUDE EVIDENCE AND ARGUMENTS RELATING TO
      INTER PARTES REVIEW PROCEEDINGS OF THE ASSERTED PATENTS
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       There is no probative value of telling the jury that the independent claims of the asserted

dependent claims are invalid and canceled, instead of non-asserted. To the extent there is any

marginal probative value, it is far outweighed by the risk of unfair prejudice, jury confusion, and

wasting trial time. Informing the jury that the independent claims are not asserted (as opposed to

invalid) is sufficient to address ScentAir’s concern about apportionment. Prolitec’s proposed final

jury instruction does just that without needing to mention invalidity or cancellation:

       In this case, because all of the asserted claims are dependent claims, and because
       the independent claims from which they depend are not asserted, an award of
       damages must be based only on the value contributed by the features of the
       asserted dependent claims, as opposed to features of the independent claims.

Further, Prolitec does not intend to offer any opinions from Dr. Vigil concerning the value of scent

diffusion as that would be in direct conflict with the Court’s holdings regarding apportionment.

Prolitec’s Resp. to ScentAir’s Mot. in Lim. to Preclude Evid. or Arg. Attributing Patented-Claim

Value to Scent Diffusion, at 2.; D.I. 240 at 29-39.

       There is far greater risk here of unfair prejudice than in the primary case relied upon by

ScentAir because “validity [was] not at issue at trial” in G.W. Lisk Co. v. Power Packer N.A., Inc.

No. 4:17-cv-273-SMR-SBJ, 2023 WL 3680079, at *4 (S.D. Iowa Apr. 13, 2023). Thus, unlike

here, there was minimal risk of a spillover effect or juror confusion between issues, and the G.W.

Lisk court’s limiting instruction was sufficient to overcome this decreased risk of prejudice.

Additionally, if the IPR certificate and the invalidity and cancellation of the independent claims

are brought to the jury’s attention, valuable trial time would have to be spent educating the jury

about the IPR proceedings to mitigate juror confusion regarding their significance. None of this

is necessary to address the issue ScentAir raises. In sum, there is no dispute that Prolitec cannot

obtain damages for the benefits of the independent claims. Prolitec simply wants to accomplish

this in a way that does not cause unfair prejudice, jury confusion, and wasting trial time.



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